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 8
                                 UNITED STATES DISTRICT COURT
 9
                              NORTHERN DISTRICT OF CALIFORNIA
10
                                      SAN FRANCISCO DIVISION
11
     IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV-07-5944-SC
12   ANTITRUST LITIGATION
                                                     MDL No. 1917
13
                                                     INDIRECT-PURCHASER PLAINTIFFS’
14                                                   ADMINISTRATIVE MOTION TO SEAL
                                                     DOCUMENT PURSUANT TO CIVIL
15                                                   LOCAL RULES 7-11 AND 79-5(d)_______

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18          Pursuant to Civil Local Rules 7-11 and 79-5(d), Plaintiffs hereby move for

19   administrative relief to file the following document, or portions thereof, under seal:

20                 Errata to the Declaration of Janet S. Netz, Ph.D. In Support of Motion of Indirect-

21                  Purchaser Plaintiffs for Class Certification

22          This motion is supported by the Declaration of Mario N. Alioto In Support of Indirect-

23   Purchaser Plaintiffs’ Administrative Motion to Seal Document (“Alioto Decl.”).

24          Civil Local Rule 79-5(d) provides: “If a party wishes to file a document that has been

25   designated confidential by another party pursuant to a protective order, or if a party wishes to

26   refer in a memorandum or other filing to information so designated by another party, the

27   submitting party must file and serve an Administrative Motion for a sealing order . . . .”

28   Here, Plaintiffs submit this Administrative Motion because they wish to file the document that

     contains either (a) material designated by Defendants pursuant to the Stipulated Protective Order
            INDIRECT-PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL DOCUMENT
                          — MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
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 1   (Dkt. 306, June 18, 2008) as “Confidential” or “Highly Confidential” or (b) analysis of,

 2   references to, or information taken directly from material designated by Defendants pursuant to

 3   the Stipulated Protective Order as “Confidential” or “Highly Confidential.” See Alioto Decl., ¶

 4   2. Plaintiffs take no position on whether the designated document satisfies the requirements for

 5   sealing. Although Plaintiffs’ request is narrowly tailored to include only the information that

 6   may require confidentiality, it is Defendants’ burden to show good cause for sealing the

 7   designated document by submitting a declaration showing good cause and a proposed order

 8   within seven days after the lodging of the designated document. See Civil Local Rule 79-5(d).

 9   Because Civil Local Rule 79-5(d) prohibits the sealing of document by agreement of the parties,

10   the parties are unable to enter into such a stipulation. See Civil Local Rules 7-11 (requiring

11   explanation of lack of stipulation), 79-5(d).

12   Dated: November 30, 2012                        Respectfully submitted,

13                                                   /s/ Mario N. Alioto
                                                      Mario N. Alioto
14
                                                      Mario N. Alioto (56433)
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                          — MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
